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                                                                                                    E-FILED
                                                                   Monday, 21 September, 2020 02:52:13 PM
                                                                               Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                            Urbana Division



ANTHONY L. ROBERSON,

               Plaintiff,

v.                                                                  Case No. 18-2312

COLE ANDERSON et al.,

               Defendants.


                    ORDER FOLLOWING REPORT OF SETTLEMENT

       This case has been reported settled by the parties.
       IT IS, THEREFORE, ORDERED as follows:
       1. The parties are hereby directed to file with the court, within thirty (30) days of the
date of this order, a stipulation of dismissal signed by both parties.
       2. All time tables and scheduled hearings are VACATED until further order.
       3. Any pending motions in this case are rendered MOOT. If settlement does not occur,
the parties can request that the motions be reinstated.
       ENTERED this 21st day of September, 2020.


                                                        s/COLIN S. BRUCE
                                                  UNITED STATES DISTRICT JUDGE
